                                 Case 1:16-cv-06284-AT Document 47-5 Filed 01/09/17 Page 1 of 31


             Form 5500                               Annual Return/Report of Employee Benefit Plan                                                                                 OMB Nos. 1210-0110
                                                                                                                                                                                            1210-0089
                                                    This form is required to be filed for employee benefit plans under sections 104
          Department of the Treasury               and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
           Internal Revenue Service                   sections 6047(e), and 6058(a) of the Internal Revenue Code (the Code).
            Department of Labor
                                                                                                                                                                                2010
          Employee Benefits Security                                      Complete all entries in accordance with
                Administration                                              the instructions to the Form 5500.
     Pension Benefit Guaranty Corporation
                                                                                                                                                                  This Form is Open to Public
                                                                                                                                                                          Inspection
Part I          Annual Report Identification Information
For calendar plan year 2010 or fiscal plan year beginning                    01/01/2010                                           and ending        12/31/2010
A    This return/report is for:                        X   a multiemployer plan;                         X   a multiple-employer plan; or
                                                       X   a single-employer plan;                       X   a DFE (specify)            _C_

B    This return/report is:                            X   the first return/report;                      X   the final return/report;
                                                       X   an amended return/report;                     X   a short plan year return/report (less than 12 months).

C    If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X
D    Check box if filing under:                 X Form 5558;
                                                X                                                     X automatic extension;                                                X the DFVC program;
                                                       X   special extension (enter description) ABCDEFGHI                      ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                     1b  Three-digit plan      001
ABCDEFGHI     ABCDEFGHI
NEW YORK UNIVERSITY       ABCDEFGHI
                     RETIREMENT       ABCDEFGHI
                                PLAN FOR  MEMBERS OF    ABCDEFGHI   ABCDEFGHI
                                                          THE FACULTY,           ABCDEFGHI
                                                                       PROFESSIONAL RESEARCH                                                                            number (PN)          001
STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                           1c Effective date of plan
                                                                                                                                                                        YYYY-MM-DD
                                                                                                                                                                     01/01/1952
2a    Plan sponsor’s name and address (employer, if for a single-employer plan)                                                                                     2b   Employer Identification
     (Address should include room or suite no.)                                                                                                                          Number (EIN)
NEW YORK UNIVERSITY                                                                                                                                                      012345678
                                                                                                                                                                      XX-XXXXXXX
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                               2c   Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                        number
ABCDEFGHI                                                                                                                                                             212-998-1270
                                                                                                                                                                         0123456789
726 BROADWAY, 8TH FLOOR
c/o   ABCDEFGHI
NEW YORK, NY 10003 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                      2d   Business code (see
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                      instructions)
                                                                                                                                                                      611000
                                                                                                                                                                         012345
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN Filed with authorized/valid electronic signature.                                           10/10/2011
                                                                                                 YYYY-MM-DD                LINDA A. WOODRUFF
                                                                                                                           ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDE
HERE
      Signature of plan administrator                                                            Date                      Enter name of individual signing as plan administrator

SIGN Filed with authorized/valid electronic signature.                                           10/10/2011
                                                                                                  YYYY-MM-DD               LINDA A. WOODRUFF
                                                                                                                           ABCDEFGHI   ABCDEFGHI ABCDEFGHI ABCDE
HERE
      Signature of employer/plan sponsor                                                         Date                      Enter name of individual signing as employer or plan sponsor

SIGN                                                                                             YYYY-MM-DD                ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
         Signature of DFE                                         Date                Enter name of individual signing as DFE
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                     Form 5500 (2010)
                                                                                                                                                                                          v.092307.1




                                                                                                                                                                    Exhibit 4
        Case 1:16-cv-06284-AT Document 47-5 Filed 01/09/17 Page 2 of 31

New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2010 and 2009

     The Plan had the following investments at fair value that exceeded 5% of the net assets available
     for benefits at:

                                                                              December 31,
                                                                          2010             2009

     CREF Stock                                                     $   447,002,346       $     408,358,918
     TIAA Traditional Annuity                                           591,894,201             576,482,765


     During 2010, the Plan’s investments (including investments bought and sold as well as held during
     the year) appreciated (depreciated) in value as follows:

                                                                                               2010

     Variable Annuities                                                               $       85,500,500
     Pooled Separate Account                                                                   3,363,702
     Mutual Funds                                                                             38,284,382
     Total                                                                           $    127,148,584

5.   Plan Termination

     NYU has the right under the Plan to discontinue its contributions at any time and to terminate the
     Plan subject to the provisions of ERISA.
6.   Tax Status

     The Plan has been designed to qualify for tax-exempt status under Section 403(b) of the Internal
     Revenue Code (the Code). The terms of the Plan have been prepared to conform with the sample
     language provided by the IRS in Revenue Procedure 2007-71. The Plan is required to operate in
     conformity with the Code to maintain the tax-exempt status for plan participants under
     Section 403(b). The Plan Administrator believes that the Plan is currently designed and operating
     in accordance with the applicable requirements of Section 403(b) of the Code and, therefore,
     believes the Plan is qualified and the related (custodial) accounts (and tax-deferred annuities) are
     tax-exempt. Therefore, no provision for income taxes has been included in the Plan's financial
     statements.

     Accounting principles generally accepted in the United States of America require plan management
     to evaluate tax positions taken by the Plan and recognize a tax liability if the Plan has taken an
     uncertain position that more likely than not would not be sustained upon examination by the IRS.
     The Plan Administrator has analyzed the tax positions taken by the Plan, and has concluded that
     as of December 31, 2010, there are no uncertain positions taken or expected to be taken that
     would require recognition of a liability or disclosure in the financial statements. The Plan is subject
     to routine audits by taxing jurisdictions; however, there are currently no audits for any tax periods in
     progress. The Plan Administrator believes it is no longer subject to income tax examinations for
     years prior to 2007.
7.   Party-In-Interest Transactions

     All of the Plan's investments are managed by the custodians and, therefore, these transactions
     qualify as party-in-interest. The total fair value of investments managed by TIAA-CREF and
     Vanguard was $1,786,975,566 and $1,623,348,680 at December 31, 2010 and 2009, respectively.


                                                    10
                                                                                                 Exhibit 4
           Case 1:16-cv-06284-AT Document 47-5 Filed 01/09/17 Page 3 of 31

New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2010 and 2009
   Identity of issue, borrower, lessor
   or similar party individual                                     Description of investment     Cost        Fair value

** CREF Bond Market                                             Variable Annuity Contract        ***        $ 49,169,117
** CREF Equity Index                                            Variable Annuity Contract         ***         33,930,967
** CREF Global Equities                                         Variable Annuity Contract         ***         50,468,642
** CREF Growth                                                  Variable Annuity Contract        ***          41,167,599
** CREF Inflation-Linked Bond                                   Variable Annuity Contract         ***         44,281,666
** CREF Money Market                                            Variable Annuity Contract        ***          51,414,324
** CREF Social Choice                                           Variable Annuity Contract         ***         35,215,903
** CREF Stock                                                   Variable Annuity Contract        ***         447,002,346
** TIAA Real Estate Account                                     Pooled Separate Account           ***         30,457,996
** TIAA Traditional Annuity                                     Guaranteed Insurance Contract     ***        591,894,201
** TIAA-CREF Intl Eq Idx-Rtmt                                   Registered Investement Company    ***           7,038,688
** TIAA-CREF Lfcyle Rtmt Inc-Rtmt                               Registered Investement Company    ***            109,083
** TIAA-CREF Lg-Cap Val Idx-Rtmt                                Registered Investement Company    ***           1,287,775
** TIAA-CREF Lifecycle 2010-Rtmt                                Registered Investement Company    ***            725,573
** TIAA-CREF Lifecycle 2015-Rtmt                                Registered Investement Company    ***            673,521
** TIAA-CREF Lifecycle 2020-Rtmt                                Registered Investement Company    ***            660,124
** TIAA-CREF Lifecycle 2025-Rtmt                                Registered Investement Company    ***            493,894
** TIAA-CREF Lifecycle 2030-Rtmt                                Registered Investement Company    ***           1,044,204
** TIAA-CREF Lifecycle 2035-Rtmt                                Registered Investement Company    ***            884,695
** TIAA-CREF Lifecycle 2040-Rtmt                                Registered Investement Company    ***           1,392,453
** TIAA-CREF Lifecycle 2045-Rtmt                                Registered Investement Company    ***            549,905
** TIAA-CREF Lifecycle 2050-Rtmt                                Registered Investement Company    ***            248,126
** TIAA-CREF Mid-Cap Gr-Rtmt                                    Registered Investement Company    ***           1,841,868
** TIAA-CREF Mid-Cap Val-Rtmt                                   Registered Investement Company    ***           5,747,382
** TIAA-CREF Sm-Cap Bl Idx-Rtmt                                 Registered Investement Company    ***           3,229,616
** Vanguard 500 Index Fund Investor Shares                      Registered Investement Company    ***         26,939,989
** Vanguard Admiral Treasury Money Market Fund                  Registered Investement Company    ***           3,118,189
** Vanguard Asset Allocation Fund Investor Shares               Registered Investement Company    ***           3,167,538
** Vanguard Balanced Index Fund Investor Shares                 Registered Investement Company    ***           2,380,224
** Vanguard Capital Opportunity Fund Investor Shares            Registered Investement Company    ***           7,851,242
** Vanguard Capital Value Fund                                  Registered Investement Company    ***           1,004,347
** Vanguard Convertible Securities Fund                         Registered Investement Company    ***           1,712,885
** Vanguard Developed Markets Index Fund                        Registered Investement Company    ***            689,183
** Vanguard Dividend Growth Fund                                Registered Investement Company    ***           1,258,830
** Vanguard Emerging Markets Stock Index Fund Investor Shares   Registered Investement Company    ***         10,390,930
** Vanguard Energy Fund Investor Shares                         Registered Investement Company    ***           3,920,957
** Vanguard Equity Income Fund Investor Shares                  Registered Investement Company    ***           2,242,166
** Vanguard European Stock Index Fund Investor Shares           Registered Investement Company    ***           2,882,930




                                                          12
                                                                                                        Exhibit 4
           Case 1:16-cv-06284-AT Document 47-5 Filed 01/09/17 Page 4 of 31

New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2010 and 2009
   Identity of issue, borrower, lessor
   or similar party individual                                            Description of investment     Cost           Fair value

** Vanguard Explorer Fund Investor Shares                              Registered Investement Company    ***       $     4,701,288
** Vanguard Extended Market Index Fund Investor Shares                 Registered Investement Company    ***              2,071,273
** Vanguard Federal Money Market Fund                                  Registered Investement Company    ***              2,452,078
** Vanguard FTSE Social Index Fund Investor Shares                     Registered Investement Company    ***              1,067,142
** Vanguard Global Equity Fund                                         Registered Investement Company    ***              3,031,342
** Vanguard GNMA Fund Investor Shares                                  Registered Investement Company    ***              3,630,068
** Vanguard Growth and Income Fund Investor Shares                     Registered Investement Company    ***              2,651,756
** Vanguard Growth Equity Fund                                         Registered Investement Company    ***              1,049,344
** Vanguard Growth Index Fund Investor Shares                          Registered Investement Company    ***              4,495,857
** Vanguard Health Care Fund Investor Shares                           Registered Investement Company    ***              1,679,767
** Vanguard High-Yield Corporate Fund Investor Shares                  Registered Investement Company    ***              3,872,788
** Vanguard Inflation-Protected Securities Fund Investor Shares        Registered Investement Company    ***              7,111,031
** Vanguard Intermediate-Term Bond Index Fund Investor Shares          Registered Investement Company    ***              1,863,014
** Vanguard Intermediate-Term Investment Grade Investor Share          Registered Investement Company    ***              3,227,871
** Vanguard Intermediate-Term Treasury Fund Investor Shares            Registered Investement Company    ***              3,163,700
** Vanguard International Explorer Fund                                Registered Investement Company    ***              3,280,116
** Vanguard International Growth Fund Investor Shares                  Registered Investement Company    ***            10,320,369
** Vanguard International Value Fund                                   Registered Investement Company    ***              3,334,844
** Vanguard LifeStrategy Conservative Growth Fund                      Registered Investement Company    ***              1,283,830
** Vanguard LifeStrategy Growth Fund                                   Registered Investement Company    ***              4,682,067
** Vanguard LifeStrategy Income Fund                                   Registered Investement Company    ***               686,602
** Vanguard LifeStrategy Moderate Growth Fund                          Registered Investement Company    ***              4,403,563
** Vanguard Long-Term Bond Index Fund                                  Registered Investement Company    ***              1,936,601
** Vanguard Long-Term Investment Grade - Invest Share                  Registered Investement Company    ***              4,723,063
** Vanguard Long-Term Treasury Fund Investor Shares                    Registered Investement Company    ***              4,861,009
** Vanguard Mid-Cap Growth Fund                                        Registered Investement Company    ***              1,261,751
** Vanguard Mid-Cap Index Fund Investor Shares                         Registered Investement Company    ***              5,016,467
** Vanguard Morgan Growth Fund Investor Shares                         Registered Investement Company    ***              7,393,093
** Vanguard Pacific Stock Index Fund Investor Shares                   Registered Investement Company    ***              3,588,098
** Vanguard Precious Metals and Mining Fund                            Registered Investement Company    ***              6,073,092
** Vanguard Prime Money Market Fund                                    Registered Investement Company    ***            17,160,567
** Vanguard PRIMECAP Core Fund                                         Registered Investement Company    ***              1,055,313
** Vanguard PRIMECAP Fund Investor Shares                              Registered Investement Company    ***            16,680,461
** Vanguard REIT Index Fund Investor Shares                            Registered Investement Company    ***              4,212,488
** Vanguard Selected Value Fund                                        Registered Investement Company    ***              2,427,195
** Vanguard Short-Term Bond Index Fund Investor Shares                 Registered Investement Company    ***              2,856,174
** Vanguard Short-Term Federal Fund Investor Shares                    Registered Investement Company    ***              1,453,278
** Vanguard Short-Term Investment-Grade Fund Investor Shares           Registered Investement Company    ***              5,115,555




                                                                  13
                                                                                                               Exhibit 4
           Case 1:16-cv-06284-AT Document 47-5 Filed 01/09/17 Page 5 of 31

New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2010 and 2009
    Identity of issue, borrower, lessor
    or similar party individual                                     Description of investment          Cost          Fair value

** Vanguard Short-Term Treasury Fund Investor Shares             Registered Investement Company         ***      $      2,159,025
** Vanguard Small-Cap Growth Index Fund                          Registered Investement Company         ***             2,305,397
** Vanguard Small-Cap Index Fund Investor Shares                 Registered Investement Company         ***             2,238,611
** Vanguard Small-Cap Value Index Fund                           Registered Investement Company         ***             2,485,738
** Vanguard STAR Fund                                            Registered Investement Company         ***             4,161,157
** Vanguard Strategic Equity Fund                                Registered Investement Company         ***             2,593,689
** Vanguard Target Retirement 2005 Fund                          Registered Investement Company         ***              199,108
** Vanguard Target Retirement 2010 Fund                          Registered Investement Company         ***              979,400
** Vanguard Target Retirement 2015 Fund                          Registered Investement Company         ***             4,837,788
** Vanguard Target Retirement 2020 Fund                          Registered Investement Company         ***             3,272,321
** Vanguard Target Retirement 2025 Fund                          Registered Investement Company         ***             8,379,643
** Vanguard Target Retirement 2030 Fund                          Registered Investement Company         ***             2,927,543
** Vanguard Target Retirement 2035 Fund                          Registered Investement Company         ***             6,844,716
** Vanguard Target Retirement 2040 Fund                          Registered Investement Company         ***             3,622,756
** Vanguard Target Retirement 2045 Fund                          Registered Investement Company         ***             4,873,788
** Vanguard Target Retirement 2050 Fund                          Registered Investement Company         ***             1,788,893
** Vanguard Target Retirement 2055 Fund                          Registered Investement Company         ***                   69
** Vanguard Target Retirement Income                             Registered Investement Company         ***              401,193
** Vanguard Total Bond Market Index Fund Investor Shares         Registered Investement Company         ***           15,027,282
** Vanguard Total International Stock Index Fund                 Registered Investement Company         ***             6,706,556
** Vanguard Total Stock Market Index Fund Investor Shares        Registered Investement Company         ***           15,425,470
** Vanguard U.S. Growth Fund Investor Shares                     Registered Investement Company         ***             3,888,427
** Vanguard U.S. Value Fund                                      Registered Investement Company         ***              558,827
** Vanguard Value Index Fund Investor Shares                     Registered Investement Company         ***             2,115,732
** Vanguard Wellesley Income Fund Investor Shares                Registered Investement Company         ***             4,359,487
** Vanguard Wellington Fund Investor Shares                      Registered Investement Company         ***           14,355,503
** Vanguard Windsor Fund Investor Shares                         Registered Investement Company         ***           31,795,979
** Vanguard Windsor II Fund Investor Shares                      Registered Investement Company         ***           10,308,475
                                                                                                  Total assets   $1,786,975,566



*   The information in this schedule has been certified as to its completeness and accuracy by the
    Custodians.
** These are permitted party-in-interest transactions as defined by ERISA.
*** Cost information is not required for participant directed investments and therefore is not included.




                                                            14
                                                                                                           Exhibit 4
                                   Case 1:16-cv-06284-AT Document 47-5 Filed 01/09/17 Page 6 of 31


             Form 5500                                  Annual Return/Report of Employee Benefit Plan                                                                                        OMB Nos. 1210-0110
                                                                                                                                                                                                      1210-0089
                                                      This form is required to be filed for employee benefit plans under sections 104
          Department of the Treasury                 and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
           Internal Revenue Service                  sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code).
            Department of Labor
                                                                                                                                                                                            2011
          Employee Benefits Security                                          Complete all entries in accordance with
                Administration                                                  the instructions to the Form 5500.
     Pension Benefit Guaranty Corporation
                                                                                                                                                                           This Form is Open to Public
                                                                                                                                                                                   Inspection
Part I          Annual Report Identification Information
For calendar plan year 2011 or fiscal plan year beginning                  01/01/2011                                                   and ending          12/31/2011
A    This return/report is for:                           X   a multiemployer plan;                            X   a multiple-employer plan; or
                                                          X   a single-employer plan;                          X   a DFE (specify)             _C_

B    This return/report is:                               X   the first return/report;                         X   the final return/report;
                                                          X   an amended return/report;                        X   a short plan year return/report (less than 12 months).

C    If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   X
D    Check box if filing under:                           X Form 5558;                                         X   automatic extension;                X the DFVC program;
                                                          X   special extension (enter description) ABCDEFGHI                          ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                              1b  Three-digit plan      001
ABCDEFGHI     ABCDEFGHI
NEW YORK UNIVERSITY       ABCDEFGHI
                     RETIREMENT       ABCDEFGHI
                                PLAN FOR  MEMBERS OF    ABCDEFGHI    ABCDEFGHI
                                                           THE FACULTY,           ABCDEFGHI
                                                                        PROFESSIONAL RESEARCH                                                                                    number (PN)          001
STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                    1c Effective date of plan
                                                                                                                                                                                 YYYY-MM-DD
                                                                                                                                                                              01/01/1952
2a    Plan sponsor’s name and address, including room or suite number (Employer, if for single-employer plan)                                                                2b   Employer Identification
                                                                                                                                                                                  Number (EIN)
NEW YORK UNIVERSITY                                                                                                                                                               012345678
                                                                                                                                                                               XX-XXXXXXX
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                        2c     Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                   number
ABCDEFGHI                                                                                                                                                                               212-998-1270
                                                                                                                                                                                    0123456789
726 BROADWAY, 8TH FLOOR
c/o  ABCDEFGHI
NEW YORK, NY 10003ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                2d   Business code (see
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                               instructions)
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                               012345
                                                                                                                                                                               611000
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN Filed with authorized/valid electronic signature.                                                09/26/2012
                                                                                                       YYYY-MM-DD                 MARK A. PETTI ABCDEFGHI ABCDEFGHI ABCDE
                                                                                                                                  ABCDEFGHI
HERE
      Signature of plan administrator                                                                  Date                       Enter name of individual signing as plan administrator


SIGN Filed with authorized/valid electronic signature.                                                09/26/2012
                                                                                                       YYYY-MM-DD                 MARK A. PETTI ABCDEFGHI ABCDEFGHI ABCDE
                                                                                                                                  ABCDEFGHI
HERE
      Signature of employer/plan sponsor                                                               Date                       Enter name of individual signing as employer or plan sponsor


SIGN                                                                                                   YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
         Signature of DFE                                         Date                Enter name of individual signing as DFE
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                              Form 5500 (2011)
                                                                                                                                                                                                    v.012611




                                                                                                                                                                             Exhibit 4
        Case 1:16-cv-06284-AT Document 47-5 Filed 01/09/17 Page 7 of 31

New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2011 and 2010

6.   Tax Status

     The Plan has been designed to qualify for tax-exempt status under Section 403(b) of the Internal
     Revenue Code (the Code). The terms of the Plan have been prepared to conform with the sample
     language provided by the IRS in Revenue Procedure 2007-71. The Plan is required to operate in
     conformity with the Code to maintain the tax-exempt status for plan participants under
     Section 403(b). The Plan Administrator believes that the Plan is currently designed and operating
     in accordance with the applicable requirements of Section 403(b) of the Code and, therefore,
     believes the Plan is qualified and the related (custodial) accounts (and tax-deferred annuities) are
     tax-exempt. Therefore, no provision for income taxes has been included in the Plan's financial
     statements.

     Accounting principles generally accepted in the United States of America require plan management
     to evaluate tax positions taken by the Plan and recognize a tax liability if the Plan has taken an
     uncertain position that more likely than not would not be sustained upon examination by the IRS.
     The Plan Administrator has analyzed the tax positions taken by the Plan, and has concluded that
     as of December 31, 2011, there are no uncertain positions taken or expected to be taken that
     would require recognition of a liability or disclosure in the financial statements. The Plan is subject
     to routine audits by taxing jurisdictions; however, there are currently no audits for any tax periods in
     progress. The Plan Administrator believes it is no longer subject to income tax examinations for
     years prior to 2008.


7.   Party-In-Interest Transactions

     All of the Plan's investments are managed by the custodians and, therefore, these transactions
     qualify as party-in-interest. The total fair value of investments managed by TIAA-CREF and
     Vanguard was $1,785,653,896 and $1,786,975,566 at December 31, 2011 and 2010, respectively.



8.   Subsequent Events

     The Plan Administrator has evaluated subsequent events through September 14, 2012, the date
     the financial statements were available to be issued. There were no significant subsequent events
     noted during this period.




                                                    11
                                                                                              Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2011
   Identity of issue, borrower, lessor
   or similar party individual                                         Description of investment   Cost     Fair value

** TIAA TRADITIONAL                                                Guaranteed Insurance Contract    ***     $ 604,863,387
** TIAA-CREF Lfcyle Rtmt Inc-Rtmt                                  Registered Investment Company    ***           20,715
** TIAA-CREF Lifecycle 2010-Rtmt                                   Registered Investment Company    ***          973,494
** TIAA-CREF Lifecycle 2015-Rtmt                                   Registered Investment Company    ***        1,041,364
** TIAA-CREF Lifecycle 2020-Rtmt                                   Registered Investment Company    ***        1,195,892
** TIAA-CREF Lifecycle 2025-Rtmt                                   Registered Investment Company    ***          779,386
** TIAA-CREF Lifecycle 2030-Rtmt                                   Registered Investment Company    ***        1,534,928
** TIAA-CREF Lifecycle 2035-Rtmt                                   Registered Investment Company    ***        1,330,700
** TIAA-CREF Lifecycle 2040-Rtmt                                   Registered Investment Company    ***        2,067,004
** TIAA-CREF Lifecycle 2045-Rtmt                                   Registered Investment Company    ***          869,210
** TIAA-CREF Lifecycle 2050-Rtmt                                   Registered Investment Company    ***          433,637
** Vanguard Asset Allocation Fund Investor Shares                  Registered Investment Company    ***        2,968,006
** Vanguard Balanced Index Fund Investor Shares                    Registered Investment Company    ***        2,593,994
** Vanguard Convertible Securities Fund                            Registered Investment Company    ***        1,288,433
** Vanguard LifeStrategy Conservative Growth Fund                  Registered Investment Company    ***        1,329,142
** Vanguard LifeStrategy Growth Fund                               Registered Investment Company    ***        4,660,199
** Vanguard LifeStrategy Income Fund                               Registered Investment Company    ***          781,596
** Vanguard LifeStrategy Moderate Growth Fund                      Registered Investment Company    ***        4,859,292
** Vanguard STAR Fund                                              Registered Investment Company    ***        4,194,510
** Vanguard Target Retirement 2005 Fund                            Registered Investment Company    ***          317,767
** Vanguard Target Retirement 2010 Fund                            Registered Investment Company    ***          963,799
** Vanguard Target Retirement 2015 Fund                            Registered Investment Company    ***        5,380,602
** Vanguard Target Retirement 2020 Fund                            Registered Investment Company    ***        4,136,769
** Vanguard Target Retirement 2025 Fund                            Registered Investment Company    ***       10,352,837
** Vanguard Target Retirement 2030 Fund                            Registered Investment Company    ***        4,407,433
** Vanguard Target Retirement 2035 Fund                            Registered Investment Company    ***        7,959,609
** Vanguard Target Retirement 2040 Fund                            Registered Investment Company    ***        5,429,891
** Vanguard Target Retirement 2045 Fund                            Registered Investment Company    ***        7,175,094
** Vanguard Target Retirement 2050 Fund                            Registered Investment Company    ***        2,900,291
** Vanguard Target Retirement 2055 Fund                            Registered Investment Company    ***           45,397
** Vanguard Target Retirement Income                               Registered Investment Company    ***        1,144,135
** Vanguard Wellesley Income Fund Investor Shares                  Registered Investment Company    ***        5,008,948
** Vanguard Wellington Fund Investor Shares                        Registered Investment Company    ***       14,148,292
** Vanguard GNMA Fund Investor Shares                              Registered Investment Company    ***        5,005,480
** Vanguard High-Yield Corporate Fund Investor Shares              Registered Investment Company    ***        4,491,611
** Vanguard Inflation-Protected Securities Fund Investor Shares    Registered Investment Company    ***        8,989,099
** Vanguard Intermediate-Term Bond Index Fund Investor Shares      Registered Investment Company    ***        2,458,515
** Vanguard Intermediate-Term Investment Grade Investor Share      Registered Investment Company    ***        2,746,898




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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2011
   Identity of issue, borrower, lessor
   or similar party individual                                       Description of investment   Cost        Fair value

** Vanguard Intermediate-Term Treasury Fund Investor Shares      Registered Investment Company    ***    $    2,132,211
** Vanguard Long-Term Bond Index Fund                            Registered Investment Company    ***         2,626,759
** Vanguard Long-Term Investment Grade - Investor Shares         Registered Investment Company    ***         6,159,002
** Vanguard Long-Term Treasury Fund Investor Shares              Registered Investment Company    ***         5,373,472
** Vanguard Short-Term Bond Index Fund Investor Shares           Registered Investment Company    ***         2,609,061
** Vanguard Short-Term Federal Fund Investor Shares              Registered Investment Company    ***         1,361,481
** Vanguard Short-Term Investment-Grade Fund Investor Shares     Registered Investment Company    ***         5,119,778
** Vanguard Short-Term Treasury Fund Investor Shares             Registered Investment Company    ***         1,923,917
** Vanguard Total Bond Market Index Fund Investor Shares         Registered Investment Company    ***        17,405,740
** Vanguard Admiral Treasury Money Market Fund                   Registered Investment Company    ***         2,500,750
** Vanguard Federal Money Market Fund                            Registered Investment Company    ***         2,273,649
** Vanguard Prime Money Market Fund                              Registered Investment Company    ***        21,581,415
** TIAA-CREF Intl Eq Idx-Rtmt                                    Registered Investment Company    ***         7,504,952
** TIAA-CREF Lg-Cap Val Idx-Rtmt                                 Registered Investment Company    ***         1,645,820
** TIAA-CREF Mid-Cap Gr-Rtmt                                     Registered Investment Company    ***         1,711,277
** TIAA-CREF Mid-Cap Val-Rtmt                                    Registered Investment Company    ***         6,938,463
** TIAA-CREF Sm-Cap Bl Idx-Rtmt                                  Registered Investment Company    ***         3,466,535
** Vanguard 500 Index Fund Investor Shares                       Registered Investment Company    ***        27,880,506
** Vanguard Capital Opportunity Fund Investor Shares             Registered Investment Company    ***         7,067,592
** Vanguard Capital Value Fund                                   Registered Investment Company    ***         1,034,302
** Vanguard Developed Markets Index Fund                         Registered Investment Company    ***          707,075
** Vanguard Dividend Growth Fund                                 Registered Investment Company    ***         2,818,654
** Vanguard Emerging Markets Stock Index Fund Investor Shares    Registered Investment Company    ***         7,720,317
** Vanguard Energy Fund Investor Shares                          Registered Investment Company    ***         5,041,983
** Vanguard Equity Income Fund Investor Shares                   Registered Investment Company    ***         3,118,033
** Vanguard European Stock Index Fund Investor Shares            Registered Investment Company    ***         2,462,337
** Vanguard Explorer Fund Investor Shares                        Registered Investment Company    ***         4,415,083
** Vanguard Extended Market Index Fund Investor Shares           Registered Investment Company    ***         1,992,483
** Vanguard FTSE Social Index Fund Investor Shares               Registered Investment Company    ***         1,070,349
** Vanguard Global Equity Fund                                   Registered Investment Company    ***         2,727,024
** Vanguard Growth and Income Fund Investor Shares               Registered Investment Company    ***         2,486,670
** Vanguard Growth Equity Fund                                   Registered Investment Company    ***         1,056,446
** Vanguard Growth Index Fund Investor Shares                    Registered Investment Company    ***         5,395,510
** Vanguard Health Care Fund Investor Shares                     Registered Investment Company    ***         1,952,469
** Vanguard International Explorer Fund                          Registered Investment Company    ***         2,614,720
** Vanguard International Growth Fund Investor Shares            Registered Investment Company    ***         8,488,783
** Vanguard International Value Fund                             Registered Investment Company    ***         2,661,973
** Vanguard Mid-Cap Growth Fund                                  Registered Investment Company    ***         1,520,983




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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2011
      Identity of issue, borrower, lessor
      or similar party individual                                   Description of investment      Cost             Fair value

 **   Vanguard Mid-Cap Index Fund Investor Shares               Registered Investment Company       ***        $     4,092,795
 **   Vanguard Morgan Growth Fund Investor Shares               Registered Investment Company       ***              6,166,728
 **   Vanguard Pacific Stock Index Fund Investor Shares         Registered Investment Company       ***              3,004,088
 **   Vanguard Precious Metals and Mining Fund                  Registered Investment Company       ***              4,158,221
 **   Vanguard PRIMECAP Core Fund                               Registered Investment Company       ***              1,171,437
 **   Vanguard PRIMECAP Fund Investor Shares                    Registered Investment Company       ***             15,730,753
 **   Vanguard REIT Index Fund Investor Shares                  Registered Investment Company       ***              4,648,559
 **   Vanguard Selected Value Fund                              Registered Investment Company       ***              2,499,545
 **   Vanguard Small-Cap Growth Index Fund                      Registered Investment Company       ***              2,707,467
 **   Vanguard Small-Cap Index Fund Investor Shares             Registered Investment Company       ***              1,907,357
 **   Vanguard Small-Cap Value Index Fund                       Registered Investment Company       ***              2,273,365
 **   Vanguard Strategic Equity Fund                            Registered Investment Company       ***              2,684,004
 **   Vanguard Total International Stock Index Fund             Registered Investment Company       ***              5,919,779
 **   Vanguard Total Stock Market Index Fund Investor Shares    Registered Investment Company       ***             16,650,485
 **   Vanguard U.S. Growth Fund Investor Shares                 Registered Investment Company       ***              3,745,771
 **   Vanguard U.S. Value Fund                                  Registered Investment Company       ***                636,405
 **   Vanguard Value Index Fund Investor Shares                 Registered Investment Company       ***              2,037,459
 **   Vanguard Windsor Fund Investor Shares                     Registered Investment Company       ***             28,786,659
 **   Vanguard Windsor II Fund Investor Shares                  Registered Investment Company       ***             10,333,571
 **   TIAA Real Estate                                          Pooled Separate Account             ***             41,141,214
 **   CREF Equity Index                                         Variable Annuity Contract           ***             32,591,976
 **   CREF Global Equities                                      Variable Annuity Contract           ***             45,034,454
 **   CREF Growth                                               Variable Annuity Contract           ***             40,526,162
 **   CREF Social Choice                                        Variable Annuity Contract           ***             35,926,940
 **   CREF Stock                                                Variable Annuity Contract           ***            399,018,507
 **   CREF Bond Market                                          Variable Annuity Contract           ***             52,457,681
 **   CREF Inflation-Linked Bond                                Variable Annuity Contract           ***             50,543,333
 **   CREF Money Market                                         Variable Annuity Contract           ***             51,844,251
                                                                                          Total investments   $1,785,653,896




*     The information in this schedule has been certified as to its completeness and accuracy by the Custodians.
**    These are permitted party-in-interest transactions as defined by ERISA.
***   Cost information is not required for participant directed investments and therefore is not included.




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             Form 5500                                  Annual Return/Report of Employee Benefit Plan                                                                                        OMB Nos. 1210-0110
                                                                                                                                                                                                      1210-0089
                                                      This form is required to be filed for employee benefit plans under sections 104
          Department of the Treasury                 and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
           Internal Revenue Service
                                                     sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code).
            Department of Labor
                                                                                                                                                                                            2012
          Employee Benefits Security                                          Complete all entries in accordance with
                Administration                                                  the instructions to the Form 5500.
     Pension Benefit Guaranty Corporation
                                                                                                                                                                           This Form is Open to Public
                                                                                                                                                                                   Inspection
 Part I         Annual Report Identification Information
For calendar plan year 2012 or fiscal plan year beginning                  01/01/2012                                                   and ending          12/31/2012
A    This return/report is for:                           X   a multiemployer plan;                            X   a multiple-employer plan; or
                                                          X   a single-employer plan;                          X   a DFE (specify)             _C_

B    This return/report is:                               X   the first return/report;                         X   the final return/report;
                                                          X   an amended return/report;                        X   a short plan year return/report (less than 12 months).

C    If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   X
D    Check box if filing under:                           X Form 5558;
                                                          X                                                    X   automatic extension;                X the DFVC program;
                                                          X   special extension (enter description) ABCDEFGHI                          ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                              1b    Three-digit plan
                                                                                                                                                                                                          001
                                                                                                                                                                                                          001
ABCDEFGHI     ABCDEFGHI
NEW YORK UNIVERSITY       ABCDEFGHI
                     RETIREMENT       ABCDEFGHI
                                PLAN FOR  MEMBERS OF    ABCDEFGHI    ABCDEFGHI
                                                           THE FACULTY,           ABCDEFGHI
                                                                        PROFESSIONAL RESEARCH                                                                                      number (PN) 
STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                    1c    Effective date of plan
                                                                                                                                                                                   YYYY-MM-DD
                                                                                                                                                                                   01/01/1952
2a    Plan sponsor’s name and address; include room or suite number (employer, if for a single-employer plan)                                                                2b    Employer Identification
                                                                                                                                                                                   Number (EIN)
NEW YORK UNIVERSITY                                                                                                                                                                XX-XXXXXXX
                                                                                                                                                                                   012345678
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                        2c     Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                   number
ABCDEFGHI                                                                                                                                                                           0123456789
                                                                                                                                                                                        212-998-1270
105 E. 17TH STREET, FIRST FLOOR
c/o   ABCDEFGHI
NEW YORK,   NY 10003 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                             2d     Business code (see
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                                 instructions)
                                                                                                                                                                                    611000
                                                                                                                                                                                    012345
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN         Filed with authorized/valid electronic signature.                                         YYYY-MM-DD
                                                                                                       08/12/2013                 ABCDEFGHI
                                                                                                                                  MARK A PETTI ABCDEFGHI ABCDEFGHI ABCDE
HERE
              Signature of plan administrator                                                          Date                       Enter name of individual signing as plan administrator


SIGN         Filed with authorized/valid electronic signature.                                         YYYY-MM-DD
                                                                                                       08/12/2013                 ABCDEFGHI
                                                                                                                                  MARK A PETTI ABCDEFGHI ABCDEFGHI ABCDE
HERE
              Signature of employer/plan sponsor                                                       Date                       Enter name of individual signing as employer or plan sponsor


SIGN                                                                                                   YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
          Signature of DFE                                                  Date                Enter name of individual signing as DFE
Preparer’s name (including firm name, if applicable) and address; include room or suite number. (optional)              Preparer’s telephone number
ABCDEFGHI
RONALD          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI (optional)
          ARCULEO
                                                                                                                                     215-246-2300
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PHILADELPHIA, PA 19103
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ABCDEFGHI ABCDEFGHI
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                              Form 5500 (2012)
                                                                                                                                                                                             v. 120126



                                                                                                                                                                             Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2012 and 2011

7.   Party-In-Interest Transactions

     All of the Plan’s investments are managed by the custodians and, therefore, these transactions
     qualify as party-in-interest. The total fair value of investments managed by TIAA-CREF and
     Vanguard was $1,975,486,318 and $1,785,653,896 at December 31, 2012 and 2011, respectively.

8.   Subsequent Events

     The Plan Administrator has evaluated subsequent events through August 9, 2013, the date the
     financial statements were available to be issued. There were no significant subsequent events
     noted during this period.




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                                                                                     Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2012


   Identity of issue, borrower, lessor
   or similar party individual                                         Description of investment   Cost       Fair value

** TIAA TRADITIONAL                                                Guaranteed Insurance Contract    ***   $   622,311,678
** TIAA-CREF Lifecycle Retirement Inc-Inst                         Registered Investment Company    ***            35,535
** TIAA-CREF Lifecycle 2010-Inst                                   Registered Investment Company    ***          1,811,276
** TIAA-CREF Lifecycle 2015-Inst                                   Registered Investment Company    ***          1,442,366
** TIAA-CREF Lifecycle 2020-Inst                                   Registered Investment Company    ***          2,081,687
** TIAA-CREF Lifecycle 2025-Inst                                   Registered Investment Company    ***          1,749,939
** TIAA-CREF Lifecycle 2030-Inst                                   Registered Investment Company    ***          2,534,013
** TIAA-CREF Lifecycle 2035-Inst                                   Registered Investment Company    ***          2,343,416
** TIAA-CREF Lifecycle 2040-Inst                                   Registered Investment Company    ***          3,629,059
** TIAA-CREF Lifecycle 2045-Inst                                   Registered Investment Company    ***          1,579,153
** TIAA-CREF Lifecycle 2050-Inst                                   Registered Investment Company    ***           804,574
** TIAA-CREF Lifecycle 2055-Inst                                   Registered Investment Company    ***                81
** Vanguard Balanced Index Fund Investor Shares                    Registered Investment Company    ***          6,638,182
** Vanguard Convertible Securities Fund                            Registered Investment Company    ***          1,463,813
** Vanguard LifeStrategy Conservative Growth Fund                  Registered Investment Company    ***          1,426,078
** Vanguard LifeStrategy Growth Fund                               Registered Investment Company    ***          5,596,119
** Vanguard LifeStrategy Income Fund                               Registered Investment Company    ***           927,302
** Vanguard LifeStrategy Moderate Growth Fund                      Registered Investment Company    ***          5,218,156
** Vanguard STAR Fund                                              Registered Investment Company    ***          4,550,653
** Vanguard Target Retirement 2010 Fund                            Registered Investment Company    ***          1,860,948
** Vanguard Target Retirement 2015 Fund                            Registered Investment Company    ***          7,656,441
** Vanguard Target Retirement 2020 Fund                            Registered Investment Company    ***          5,351,144
** Vanguard Target Retirement 2025 Fund                            Registered Investment Company    ***        13,186,374
** Vanguard Target Retirement 2030 Fund                            Registered Investment Company    ***          6,028,095
** Vanguard Target Retirement 2035 Fund                            Registered Investment Company    ***        11,228,892
** Vanguard Target Retirement 2040 Fund                            Registered Investment Company    ***          8,729,164
** Vanguard Target Retirement 2045 Fund                            Registered Investment Company    ***        11,556,059
** Vanguard Target Retirement 2050 Fund                            Registered Investment Company    ***          4,994,315
** Vanguard Target Retirement 2055 Fund                            Registered Investment Company    ***           164,780
** Vanguard Target Retirement 2060 Fund                            Registered Investment Company    ***            27,923
** Vanguard Target Retirement Income                               Registered Investment Company    ***          2,049,594
** Vanguard Wellesley Income Fund Investor Shares                  Registered Investment Company    ***          5,855,649
** Vanguard Wellington Fund Investor Shares                        Registered Investment Company    ***        16,435,991
** Vanguard GNMA Fund Investor Shares                              Registered Investment Company    ***          5,200,579
** Vanguard High-Yield Corporate Fund Investor Shares              Registered Investment Company    ***          5,254,418
** Vanguard Inflation-Protected Securities Fund Investor Shares    Registered Investment Company    ***          9,315,868




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                                                                                                          Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2012


   Identity of issue, borrower, lessor
   or similar party individual                                       Description of investment   Cost       Fair value

** Vanguard Intermediate-Term Bond Index Fund Investor Shares    Registered Investment Company    ***   $     2,512,878
** Vanguard Intermediate-Term Investment Grade Investor Share    Registered Investment Company    ***         4,798,502
** Vanguard Intermediate-Term Treasury Fund Investor Shares      Registered Investment Company    ***         1,949,142
** Vanguard Long-Term Bond Index Fund                            Registered Investment Company    ***         3,352,863
** Vanguard Long-Term Investment Grade - Invest Share            Registered Investment Company    ***         6,505,542
** Vanguard Long-Term Treasury Fund Investor Shares              Registered Investment Company    ***         8,378,938
** Vanguard Short-Term Bond Index Fund Investor Shares           Registered Investment Company    ***         2,897,359
** Vanguard Short-Term Federal Fund Investor Shares              Registered Investment Company    ***         1,313,456
** Vanguard Short-Term Investment-Grade Fund Investor Shares     Registered Investment Company    ***         5,235,744
** Vanguard Short-Term Treasury Fund Investor Shares             Registered Investment Company    ***         2,203,900
** Vanguard Total Bond Market Index Fund Investor Shares         Registered Investment Company    ***        19,380,064
** Vanguard Admiral Treasury Money Market Fund                   Registered Investment Company    ***         2,239,527
** Vanguard Federal Money Market Fund                            Registered Investment Company    ***         1,561,238
** Vanguard Prime Money Market Fund                              Registered Investment Company    ***        18,356,363
** TIAA-CREF International Equity Index-Inst                     Registered Investment Company    ***        12,183,190
** TIAA-CREF Large-Cap Value Index-Inst                          Registered Investment Company    ***         3,859,464
** TIAA-CREF Mid-Cap Growth -Inst                                Registered Investment Company    ***         2,779,934
** TIAA-CREF Mid-Cap Value-Inst                                  Registered Investment Company    ***        10,761,494
** TIAA-CREF Small-Cap Blend Index-Inst                          Registered Investment Company    ***         5,675,462
** Vanguard 500 Index Fund Investor Shares                       Registered Investment Company    ***        33,258,510
** Vanguard Capital Opportunity Fund Investor Shares             Registered Investment Company    ***         7,791,740
** Vanguard Capital Value Fund                                   Registered Investment Company    ***         1,200,952
** Vanguard Developed Markets Index Fund                         Registered Investment Company    ***           967,638
** Vanguard Dividend Growth Fund                                 Registered Investment Company    ***         3,393,280
** Vanguard Emerging Markets Stock Index Fund Investor Shares    Registered Investment Company    ***         8,440,959
** Vanguard Energy Fund Investor Shares                          Registered Investment Company    ***         4,606,927
** Vanguard Equity Income Fund Investor Shares                   Registered Investment Company    ***         3,835,018
** Vanguard European Stock Index Fund Investor Shares            Registered Investment Company    ***         2,873,701
** Vanguard Explorer Fund Investor Shares                        Registered Investment Company    ***         4,994,873
** Vanguard Extended Market Index Fund Investor Shares           Registered Investment Company    ***         1,909,750
** Vanguard FTSE Social Index Fund Investor Shares               Registered Investment Company    ***         1,111,702
** Vanguard Global Equity Fund                                   Registered Investment Company    ***         2,947,835
** Vanguard Growth and Income Fund Investor Shares               Registered Investment Company    ***         2,848,796
** Vanguard Growth Equity Fund                                   Registered Investment Company    ***         1,266,001
** Vanguard Growth Index Fund Investor Shares                    Registered Investment Company    ***         6,505,478
** Vanguard Health Care Fund Investor Shares                     Registered Investment Company    ***         2,262,957
** Vanguard International Explorer Fund                          Registered Investment Company    ***         2,943,107
** Vanguard International Growth Fund Investor Shares            Registered Investment Company    ***         9,481,915




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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H, Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2012


    Identity of issue, borrower, lessor
    or similar party individual                                  Description of investment        Cost          Fair value

** Vanguard International Value Fund                         Registered Investment Company         ***      $     3,106,220
** Vanguard Mid-Cap Growth Fund                              Registered Investment Company         ***             2,464,038
** Vanguard Mid-Cap Index Fund Investor Shares               Registered Investment Company         ***             4,416,650
** Vanguard Morgan Growth Fund Investor Shares               Registered Investment Company         ***             7,221,411
** Vanguard Pacific Stock Index Fund Investor Shares         Registered Investment Company         ***             3,558,111
** Vanguard Precious Metals and Mining Fund                  Registered Investment Company         ***             3,878,435
** Vanguard PRIMECAP Core Fund                               Registered Investment Company         ***             1,077,384
** Vanguard PRIMECAP Fund Investor Shares                    Registered Investment Company         ***            17,573,486
** Vanguard REIT Index Fund Investor Shares                  Registered Investment Company         ***             6,285,249
** Vanguard Selected Value Fund                              Registered Investment Company         ***             2,787,564
** Vanguard Small-Cap Growth Index Fund                      Registered Investment Company         ***             2,930,646
** Vanguard Small-Cap Index Fund Investor Shares             Registered Investment Company         ***             2,534,504
** Vanguard Small-Cap Value Index Fund                       Registered Investment Company         ***             2,822,166
** Vanguard Strategic Equity Fund                            Registered Investment Company         ***             3,080,814
** Vanguard Total International Stock Index Fund             Registered Investment Company         ***             8,001,102
** Vanguard Total Stock Market Index Fund Investor Shares    Registered Investment Company         ***            20,659,898
** Vanguard U.S. Growth Fund Investor Shares                 Registered Investment Company         ***             4,661,006
** Vanguard U.S. Value Fund                                  Registered Investment Company         ***               837,043
** Vanguard Value Index Fund Investor Shares                 Registered Investment Company         ***             2,412,215
** Vanguard Windsor Fund Investor Shares                     Registered Investment Company         ***            32,546,330
** Vanguard Windsor II Fund Investor Shares                  Registered Investment Company         ***            11,794,964
** TIAA Real Estate                                          Pooled Separate Account               ***            49,456,459
** CREF Equity Index                                         Variable Annuity Contract             ***            39,435,716
** CREF Global Equities                                      Variable Annuity Contract             ***            52,909,113
** CREF Growth                                               Variable Annuity Contract             ***            48,403,519
** CREF Social Choice                                        Variable Annuity Contract             ***            40,962,964
** CREF Stock                                                Variable Annuity Contract             ***           442,516,552
** CREF Bond Market                                          Variable Annuity Contract             ***            58,577,739
** CREF Inflation-Linked Bond                                Variable Annuity Contract             ***            52,995,624
** CREF Money Market                                         Variable Annuity Contract             ***            45,953,883

                                                                                             Total assets   $ 1,975,486,318




*   The information in this schedule has been certified as to its completeness and accuracy by the
    Custodians.
** These are permitted party-in-interest transactions as defined by ERISA.
*** Cost information is not required for participant directed investments and therefore is not included.




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                                                                                                            Exhibit 4
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            Form 5500                               Annual Return/Report of Employee Benefit Plan                                                                                OMB Nos. 1210-0110
                                                                                                                                                                                          1210-0089
                                                  This form is required to be filed for employee benefit plans under sections 104
         Department of the Treasury              and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
          Internal Revenue Service               sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code).                                             2013
           Department of Labor
         Employee Benefits Security                                     Complete all entries in accordance with
              Administration                                              the instructions to the Form 5500.
                                                                                                                                                               This Form is Open to Public
    Pension Benefit Guaranty Corporation
                                                                                                                                                                       Inspection
 Part I        Annual Report Identification Information
For calendar plan year 2013 or fiscal plan year beginning                  01/01/2013                                          and ending        12/31/2013
A This return/report is for:                          X a multiemployer plan;                          X a multiple-employer plan; or
                                                      X a single-employer plan;                        X a DFE (specify)     _C_

B This return/report is:                              X the first return/report;                       X the final return/report;
                                                      X an amended return/report;                      X a short plan year return/report (less than 12 months).
C If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X
D Check box if filing under:                 X Form 5558;                                          X automatic extension;                                                X the DFVC program;
                                             X special extension (enter description) ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                  1b Three-digit plan
                                                                                                                                                                                              001
ABCDEFGHI     ABCDEFGHI
NEW YORK UNIVERSITY       ABCDEFGHI
                     RETIREMENT       ABCDEFGHI
                                PLAN FOR  MEMBERS OF    ABCDEFGHI    ABCDEFGHI
                                                           THE FACULTY,           ABCDEFGHI
                                                                        PROFESSIONAL RESEARCH                                                                          number (PN)           001
STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                        1c    Effective date of plan
                                                                                                                                                                       YYYY-MM-DD
                                                                                                                                                                       01/01/1952
2a Plan sponsor’s name and address; include room or suite number (employer, if for a single-employer plan)                                                       2b Employer Identification
                                                                                                                                                                       Number (EIN)
NEW YORK UNIVERSITY                                                                                                                                                    XX-XXXXXXX
                                                                                                                                                                       012345678
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                            2c Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                      number
ABCDEFGHI                                                                                                                                                              0123456789
                                                                                                                                                                           212-992-5465
105 E. 17TH STREET, FIRST FLOOR
c/o   ABCDEFGHI
NEW YORK,   NY 10003ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                  2d Business code (see
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                    instructions)
                                                                                                                                                                       611000
                                                                                                                                                                       012345
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK
Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN       Filed with authorized/valid electronic signature.                                    YYYY-MM-DD
                                                                                                08/07/2014               ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                                                                                                                         ANDREW GORDON
HERE
            Signature of plan administrator                                                     Date                     Enter name of individual signing as plan administrator

SIGN        Filed with authorized/valid electronic signature.                                   YYYY-MM-DD
                                                                                                08/07/2014               ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
                                                                                                                         ANDREW GORDON
HERE
            Signature of employer/plan sponsor                                                  Date                     Enter name of individual signing as employer or plan sponsor

SIGN                                                                                            YYYY-MM-DD               ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
          Signature of DFE                                                  Date                Enter name of individual signing as DFE
Preparer’s name (including firm name, if applicable) and address; include room or suite number. (optional)              Preparer’s telephone number
ABCDEFGHI
RONALD ARCULEO  ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI (optional)
                                                                                                                                     215-246-2300
ABCDEFGHI
DELOITTE TAX ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
1700 MARKET STREET
ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI
PHILADELPHIA, PA 19103
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
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ABCDEFGHI ABCDEFGHI
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                  Form 5500 (2013)
                                                                                                                                                                                 v. 130118




                                                                                                                                                                 Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2013 and 2012


     During the years ended December 31, 2013 and 2012, the Plan's investments (including
     investments bought and sold as well as held during the year) appreciated in value as follows:

                                                                            2013                  2012


                                                                     $    166,631,743      $     98,319,854
     Variable annuities
                                                                            4,994,586             4,394,086
     Pooled separate account
     Mutual funds                                                          93,867,106            43,819,395
                                                                      $   265,493,435      $    146,533,335



6.   Plan Termination

                                                                                                    the
     NYU has the right under the Plan to discontinue its contributions at any time and to terminate
     Plan subject to the provisions of ERISA.


7.   Tax Status


     The Plan has been designed to qualify for tax-exempt status under Section 403(b) of the Internal
                                                                                               sample
     Revenue Code (the Code). The terms of the Plan have been prepared to conform with the
                                                                                                 to operate in
     language provided by the IRS in Revenue Procedure 2007-71. The Plan is required
     conformity with the Code   to maintain the tax-exemp   t status for plan  participants under
                                                                                                     operating
     Section 403(b). The Plan Administrator believes that the Plan is currently designed and
     in accordance  with the applicable  requiremen  ts of Section  403(b)  of the  Code  and, therefore,
                                                                                                           are
     believes the Plan is qualified and the related (custodial) accounts (and tax-deferred annuities)
     tax-exempt. Therefore, no provision for income taxes has been included in the Plan's financial
     statements.

                                                                                                      a
     U.S. GAAP requires plan management to evaluate tax positions taken by the Plan and recognize
                                                      position that more likely than not would not be
     tax liability if the Plan has taken an uncertain
                                                                                                positions
     sustained upon examination by the IRS. The Plan Administrator has analyzed the tax
     taken by the Plan,  and has concluded  that as of December   31, 2013,  there are  no uncertain
                                                                                               disclosure in
     positions taken or expected to be taken that would require recognition of a liability or
                                                                                             ; however,
     the financial statements. The Plan is subject to routine audits by taxing jurisdictions
                                                                                                    it is
     there are currently no audits for any tax periods in progress. The Plan Administrator believes
     no longer subject to income tax examinations for years prior to 2010.


8.   Party-ln-interest Transactions

                                                                                                   s
     All of the Plan's investments are managed by the custodians and, therefore, these transaction
     qualify as party-in-inte rest transaction s. The total fair value of investment s managed by
                                                                                                  and
     TIAA-CREF and Vanguard was $2,278,744,452 and $1,975,486,318 at December 31, 2013
     2012, respectively.


9.    Subsequent Events


      The Plan Administrator has evaluated subsequent events through August 7, 2014, the date the
                                                                                             events
      financial statements were available to be issued. There were no significant subsequent
      noted during this period.




                                                      12



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                       Supplemental Schedule




                                                            Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H Line 4i - Schedule of Assets (Held at End of Year)*
December 31 , 201 3


  Identity of Issue, Borrower, Lessor
  orSlmilar Party Individual                                           Description of Investment   Cost      Fair Value


  TIM TRADITIONAL                                                 Guaranteed Insurance Contract              640,199,290

  TIM-CREF Lifecycle Retirement Inc-lnst                          Registered Investment Company                   187,547
  TIM-CREF Lifecycle 2010-lnst                                    Registered Investment Company                 2,123,466

  TIM-CREF Lifecycle 2015-lnst                                    Registered Investment Company                 2,586,479
  TIM-CREF Lifecycle 2020-lnst                                    Registered Investment Company                 3,585,292

  TIM-CREF Lifecycle 2025-lnst                                    Registered Investment Company                 2,810,239
  TIM-CREF Lifecycle 2030-lnst                                    Registered Investment Company                 3,982,114
  TIM-CREF Lifecycle 2035-lnst                                    Registered Investment Company                 4.078.565
  TIM-CREF Lifecycle 2040-lnst                                    Registered Investment Company                 6,489,465

  TIM-CREF Lifecycle 2045-lnst                                    Registered Investment Company                 2,938,759
  TIM-CREF Lifecycle 2050-lnst                                    Registered Investment Company                 1,593,806
  TIM-CREF Lifecycle 2055-lnst                                    Registered Investment Company                     9,605
  Vanguard Balanced index Fund Investor Shares                    Registered Investment Company                 7,951,813
  Vanguard Convertible Securities Fund                            Registered Investment Company                 1,405,260
  Vanguard LifeStrategy Conservative Growth Fund                  Registered Investment Company                 1,998,744
  Vanguard LifeStrategy Growth Fund                               Registered Investment Company                 7.290.566
  Vanguard LifeStrategy Income Fund                               Registered Investment Company                   894,345
  Vanguard LifeStrategy Moderate Growth Fund                      Registered Investment Company                 5,706,750

  Vanguard STAR Fund                                              Registered Investment Company                 5,602,438
  Vanguard Target Retirement 2010 Fund                            Registered Investment Company                 2,098,728

  Vanguard Target Retirement 201 5 Fund                           Registered Investment Company                10,077,381
  Vanguard Target Retirement 2020 Fund                            Registered Investment Company                 7,553,582
  Vanguard Target Retirement 2025 Fund                            Registered Investment Company                17,418,665
  Vanguard Target Retirement 2030 Fund                            Registered Investment Company                 9,272,144
  Vanguard Target Retirement 2035 Fund                            Registered Investment Company                16,068,896
  Vanguard Target Retirement 2040 Fund                            Registered Investment Company                13,717,446
  Vanguard Target Retirement 2045 Fund                            Registered Investment Company                18,473,867
  Vanguard Target Retirement 2050 Fund                            Registered Investment Company                 8,928,688
  Vanguard Target Retirement 2055 Fund                            Registered Investment Company                   520,917
  Vanguard Target Retirement 2060 Fund                            Registered Investment Company                    73,728

  Vanguard Target Retirement Income                               Registered Investment Company                 2,179,268
  Vanguard Wellesley Income Fund Investor Shares                  Registered Investment Company                 5,695,646
  Vanguard Wellington Fund Investor Shares                        Registered Investment Company                19,328,878
  Vanguard GNMA Fund Investor Shares                              Registered Investment Company                 4,865,869
  Vanguard High-Yield Corporate Fund Investor Shares              Registered Investment Company                 5,903,033
  Vanguard Inflation-Protected Securities Fund Investor Shares    Registered Investment Company                 7,791,427




                                                                 14




                                                                                                          Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H Line 4i - Schedule of Assets (Held at End of Year)*, continued
December 31, 2013


  Identity of Issue, Borrower, Lessor
  or Similar Party Individual                                        Description of Investment   Cost      Fair Value


  Vanguard Intermediate-Term Bond Index Fund Investor Shares   Registered Investment Company                  2,745,951

  Vanguard Intermediate-Term Investment Grade Investor Share   Registered Investment Company                  2,636,724

  Vanguard Intermediate-Term Treasury Fund Investor Shares     Registered Investment Company                  1,758,632

  Vanguard Long-Term Bond Index Fund                           Registered Investment Company                  2,422,334

  Vanguard Long-Term Investment Grade - Invest Share           Registered Investment Company                  5,548,014

  Vanguard Long-Term Treasury Fund Investor Shares             Registered Investment Company                  4.414.583

  Vanguard Short-Term Bond Index Fund Investor Shares          Registered Investment Company                  2,874,650

  Vanguard Short-Term Federal Fund Investor Shares             Registered Investment Company                  1,515,554
  Vanguard Short-Term Investment-Grade Fund Investor Shares    Registered Investment Company                  6,822,006

  Vanguard Short-Term Treasury Fund Investor Shares            Registered Investment Company                  1,956,758

  Vanguard Total Bond Market Index Fund Investor Shares        Registered Investment Company                 18,193,096

  Vanguard Admiral Treasury Money Market Fund                   Registered Investment Company                 1,835,316

  Vanguard Federal Money Market Fund                            Registered Investment Company                 1,329,760

  Vanguard Prime Money Market Fund                              Registered Investment Company               22,153,612

  TIAA-CREF Internationa! Equity Index-lnst                     Registered Investment Company                16,813,727

  TIAA-CREF Large-Cap Value Index-lnst                          Registered Investment Company                 8.412.584
  TIAA-CREF Mid-Cap Growth -Inst                                Registered Investment Company                 4,580,258

  TIAA-CREF Mid-Cap Value-lnst                                  Registered Investment Company                15,605,784
  TIAA-CREF Small-Cap Blend Index-lnst                          Registered Investment Company                 9,774,861
  Vanguard 500 Index Fund Investor Shares                       Registered Investment Company               45,787,079

  Vanguard Capital Opportunity Fund Investor Shares             Registered Investment Company                11,873,095

  Vanguard Capital Value Fund                                   Registered Investment Company                 3,868,130

  Vanguard Developed Markets Index Fund                         Registered Investment Company                 1,474,479

  Vanguard Dividend Growth Fund                                 Registered Investment Company                 5,743,125

  Vanguard Emerging Markets Stock Index Fund Investor Shares    Registered Investment Company                 7,437,765
  Vanguard Energy Fund Investor Shares                          Registered Investment Company                 4,577,920
  Vanguard Equity Income Fund Investor Shares                   Registered Investment Company                 4,898,892
  Vanguard European Stock Index Fund Investor Shares            Registered Investment Company                 3,393,928

  Vanguard Explorer Fund Investor Shares                        Registered Investment Company                 7,624,033

  Vanguard Extended Market Index Fund Investor Shares           Registered Investment Company                 3,168,637

  Vanguard FTSE Social Index Fund Investor Shares               Registered Investment Company                 1,382,739

  Vanguard Global Equity Fund                                   Registered Investment Company                 4,329,467

  Vanguard Growth and Income Fund Investor Shares               Registered Investment Company                 4,236,395

  Vanguard Growth Equity Fund                                   Registered Investment Company                 1,733,973

  Vanguard Growth Index Fund Investor Shares                    Registered Investment Company                 7,365,180
  Vanguard Health Care Fund Investor Shares                     Registered Investment Company                 4,366,576
  Vanguard Internationa! Explorer Fund                          Registered Investment Company                 4,894,542

  Vanguard International Growth Fund Investor Shares            Registered Investment Company                10,997,140




                                                               15




                                                                                                        Exhibit 4
 Case 1:16-cv-06284-AT Document 47-5 Filed 01/09/17 Page 21 of 31

New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H Line 4i - Schedule of Assets (Held at End of Year)*, continued
December 31, 2013


  Identity of Issue, Borrower, Lessor
  or Sfmffar Party Individual                                    Description of investment      Cost          Fair Value


  Vanguard International Value Fund                        Registered Investment Company                         4, 014,068

  Vanguard Mid-Cap Growth Fund                             Registered Investment Company                          3, 079,799

  Vanguard Mid-Cap Index Fund Investor Shares              Registered Investment Company                          6, 552,237

  Vanguard Morgan Growth Fund Investor Shares              Registered Investment Company                          9, 751,694

  Vanguard Pacific Stock Index Fund Investor Shares        Registered Investment Company                          4, 133,741

  Vanguard Precious Metals and Mining Fund                 Registered Investment Company                          1 .878,181

  Vanguard PRIMECAP Core Fund                              Registered Investment Company                          1. .937,389

  Vanguard PRIMECAP Fund Investor Shares                   Registered Investment Company                        24 ,070,454

  Vanguard REIT Index Fund Investor Shares                 Registered Investment Company                          5 ,756,130

  Vanguard Selected Value Fund                             Registered Investment Company                          4 ,435,252
  Vanguard Small-Cap Growth index Fund                     Registered Investment Company                          3, 713,729

  Vanguard Small-Cap Index Fund Investor Shares            Registered Investment Company                          3, 223,752

  Vanguard Smail-Cap Value Index Fund                      Registered Investment Company                          5, 420,700

  Vanguard Strategic Equity Fund                           Registered Investment Company                          4, 553,052

  Vanguard Total International Stock Index Fund            Registered Investment Company                          9, 906,293

  Vanguard Total Stock Market Index Fund Investor Shares   Registered Investment Company                         29, 354,927

  Vanguard U.S. Growth Fund Investor Shares                Registered Investment Company                          5, 962,309

  Vanguard U.S. Value Fund                                 Registered investment Company                          1, 278,977

  Vanguard Value Index Fund Investor Shares                Registered Investment Company                          3, .347,040

  Vanguard Windsor Fund Investor Shares                     Registered Investment Company                        42 .265,649

  Vanguard Windsor II Fund Investor Shares                  Registered Investment Company                        15, ,816,596
  TIAA Real Estate                                          Pooled Separate Account                              57, ,479,322
  CREF Equity Index                                        Variable Annuity Contract                             50. ,579,182

  CREF Global Equities                                     Variable Annuity Contract                            69, 433,876

  CREF Growth                                              Variable Annuity Contract                            63, 416,423

  CREF Social Choice                                       Variable Annuity Contract                            48, 911,266

  CREF Stock                                               Variable Annuity Contract                           536, 703,786

  CREF Bond Market                                         Variable Annuity Contract                             54, 336,949

  CREF inflation-Linked Bond                               Variable Annuity Contract                             37, 211,947

  CREF Money Market                                        Variable Annuity Contract                             48, 269,727

                                                                                             Total assets   $ 2,278,744,452




   The information in this schedule has been certified as to its completeness and accuracy by the
   Custodians.

   These are permitted party-in-interest transactions as defined by ERISA.

   Cost information is not required for participant-directed investments and therefore is not included.




                                                           16




                                                                                                       Exhibit 4
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             Form 5500                                  Annual Return/Report of Employee Benefit Plan                                                                                      OMB Nos. 1210-0110
                                                                                                                                                                                                    1210-0089
                                                       This form is required to be filed for employee benefit plans under sections 104
         Department of the Treasury                   and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
          Internal Revenue Service
                                                      sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code).
            Department of Labor
                                                                                                                                                                                          2014
          Employee Benefits Security                                          Complete all entries in accordance with
                Administration                                                  the instructions to the Form 5500.
     Pension Benefit Guaranty Corporation
                                                                                                                                                                         This Form is Open to Public
                                                                                                                                                                                 Inspection
 Part I         Annual Report Identification Information
For calendar plan year 2014 or fiscal plan year beginning 01/01/2014                                                                   and ending 12/31/2014

A    This return/report is for:
                                                  X   a multiemployer plan;                              X a multiple-employer plan (Filers checking this box must attach a list of
                                                                                                             participating employer information in accordance with the form instructions); or
                                                  X   a single-employer plan;                            X   a DFE (specify)      _C_
B    This return/report is:                       X   the first return/report;                           X   the final return/report;
                                                  X   an amended return/report;                          X   a short plan year return/report (less than 12 months).
C    If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X
D    Check box if filing under:                  X    Form 5558;                             X automatic extension;    X the DFVC program;
                                                 X    special extension (enter description) ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
 Part II    Basic Plan Information—enter all requested information
1a Name of plan                                                                                                                                                             1b    Three-digit plan       001
NEW YORK UNIVERSITY
ABCDEFGHI            RETIREMENT
              ABCDEFGHI         PLAN FOR
                          ABCDEFGHI       MEMBERS OF
                                      ABCDEFGHI            THE FACULTY,
                                                        ABCDEFGHI       PROFESSIONAL
                                                                     ABCDEFGHI       RESEARCH
                                                                                  ABCDEFGHI                                                                                       number (PN)           001
STAFF AND ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                   1c    Effective date of plan
                                                                                                                                                                                  01/01/1952
                                                                                                                                                                                  YYYY-MM-DD
2a    Plan sponsor’s name and address; include room or suite number (employer, if for a single-employer plan)                                                               2b    Employer Identification
NEW YORK UNIVERSITY                                                                                                                                                               Number (EIN)
                                                                                                                                                                                  XX-XXXXXXX
                                                                                                                                                                                  012345678
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                       2c    Plan Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                 number
105 E. 17TH STREET, FIRST FLOOR
ABCDEFGHI                                                                                                                                                                              212-992-5465
                                                                                                                                                                                  0123456789
NEW YORK, NY 10003
c/o ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                   2d    Business code (see
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                               instructions)
123456789 ABCDEFGHI ABCDEFGHI ABCDE                                                                                                                                               012345
                                                                                                                                                                                  611000
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN        Filed with authorized/valid electronic signature.                                         08/05/2015
                                                                                                      YYYY-MM-DD                 TRISH HALLEY
                                                                                                                                 ABCDEFGHI              ABCDEFGHI ABCDEFGHI ABCDE
HERE
              Signature of plan administrator                                                         Date                       Enter name of individual signing as plan administrator


SIGN Filed with authorized/valid electronic signature.                                                08/05/2015
                                                                                                      YYYY-MM-DD                 TRISH HALLEY
                                                                                                                                 ABCDEFGHI              ABCDEFGHI ABCDEFGHI ABCDE
HERE
      Signature of employer/plan sponsor                                                              Date                       Enter name of individual signing as employer or plan sponsor


SIGN                                                                                                  YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
          Signature of DFE                                                  Date                Enter name of individual signing as DFE
Preparer’s name (including firm name, if applicable) and address (include room or suite number) (optional)              Preparer’s telephone number
ABCDEFGHI
RONALD          ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI (optional)
          ARCULEO
ABCDEFGHI ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                 215-246-2300
DELOITTE TAX
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
1700 MARKET STREET
ABCDEFGHI     ABCDEFGHI
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PHILADELPHIA, PA 19103
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ABCDEFGHI ABCDEFGHI
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                            Form 5500 (2014)
                                                                                                                                                                                           v. 140124



                                                                                                                                                                            Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Notes to Financial Statements
December 31, 2014 and 2013

     conformity with the Code to maintain the tax-exempt status for plan participants under
     Section 403(b). The Plan Administrator believes that the Plan is currently designed and operating
     in accordance with the applicable requirements of Section 403(b) of the Code and, therefore,
     believes the Plan is qualified and the related (custodial) accounts (and tax-deferred annuities) are
     tax-exempt. Therefore, no provision for income taxes has been included in the Plan’s financial
     statements.

     U.S. GAAP requires plan management to evaluate tax positions taken by the Plan and recognize a
     tax liability if the Plan has taken an uncertain position that more likely than not would not be
     sustained upon examination by the IRS. The Plan Administrator has analyzed the tax positions
     taken by the Plan, and has concluded that as of December 31, 2014, there are no uncertain
     positions taken or expected to be taken that would require recognition of a liability or disclosure in
     the financial statements. The Plan is subject to routine audits by taxing jurisdictions; however,
     there are currently no audits for any tax periods in progress. The Plan Administrator believes it is
     no longer subject to income tax examinations for years prior to 2011.

7.   Party-In-Interest Transactions

     All of the Plan’s investments are managed by the trustees and, therefore, these transactions qualify
     as party-in-interest transactions. The total fair value of investments managed by TIAA-CREF and
     Vanguard was $2,415,714,661 and $2,278,744,452 at December 31, 2014 and 2013, respectively.

8.   Subsequent Events

     Effective January 1, 2015, TIAA-CREF Trust Company, FSB replaced JPMorgan as the custodian
     for the Plan's investments in the TIAA-CREF Institutional Mutual Funds.

     The Plan Administrator has evaluated subsequent events through July 31, 2015, the date the
     financial statements were available to be issued. Other than the above, no additional disclosures
     were required.




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                                                                                             Exhibit 4
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                   Supplemental Schedule




                                                            Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2014

     Identity of Issue, Borrower, Lessor
     or Similar Party Individual                                            Description of Investment   Cost       Fair Value

**   TIAA Traditional Annuity                                          Guaranteed Insurance Contract    ***    $   655,625,342
**   TIAA-CREF Lifecycle Retirement Income-Inst                        Registered Investment Company    ***            419,081
**   TIAA-CREF Lifecycle 2010-Inst                                     Registered Investment Company    ***          2,573,773
**   TIAA-CREF Lifecycle 2015-Inst                                     Registered Investment Company    ***          2,719,097
**   TIAA-CREF Lifecycle 2020-Inst                                     Registered Investment Company    ***          4,514,680
**   TIAA-CREF Lifecycle 2025-Inst                                     Registered Investment Company    ***          4,965,052
**   TIAA-CREF Lifecycle 2030-Inst                                     Registered Investment Company    ***          5,237,180
**   TIAA-CREF Lifecycle 2035-Inst                                     Registered Investment Company    ***          5,685,516
**   TIAA-CREF Lifecycle 2040-Inst                                     Registered Investment Company    ***          8,274,224
**   TIAA-CREF Lifecycle 2045-Inst                                     Registered Investment Company    ***          4,526,462
**   TIAA-CREF Lifecycle 2050-Inst                                     Registered Investment Company    ***          2,178,059
**   TIAA-CREF Lifecycle 2055-Inst                                     Registered Investment Company    ***             56,974
**   Vanguard Target Retirement 2010 Fund                              Registered Investment Company    ***          1,873,064
**   Vanguard Target Retirement 2015 Fund                              Registered Investment Company    ***         11,027,136
**   Vanguard Target Retirement 2020 Fund                              Registered Investment Company    ***          9,192,482
**   Vanguard Target Retirement 2025 Fund                              Registered Investment Company    ***         21,392,972
**   Vanguard Target Retirement 2030 Fund                              Registered Investment Company    ***         11,778,674
**   Vanguard Target Retirement 2035 Fund                              Registered Investment Company    ***         20,549,294
**   Vanguard Target Retirement 2040 Fund                              Registered Investment Company    ***         18,449,330
**   Vanguard Target Retirement 2045 Fund                              Registered Investment Company    ***         24,262,926
**   Vanguard Target Retirement 2050 Fund                              Registered Investment Company    ***         13,229,333
**   Vanguard Target Retirement 2055 Fund                              Registered Investment Company    ***          1,187,673
**   Vanguard Target Retirement 2060 Fund                              Registered Investment Company    ***            159,105
**   Vanguard Target Retirement Income                                 Registered Investment Company    ***          2,005,933
**   Vanguard Wellesley Income Fund Investor Shares                    Registered Investment Company    ***          5,786,663
**   Vanguard Wellington Fund Investor Shares                          Registered Investment Company    ***         22,373,814
**   Vanguard Balanced Index Fund Investor Shares                      Registered Investment Company    ***          9,396,014
**   Vanguard LifeStrategy Conservative Growth Fund                    Registered Investment Company    ***          3,322,164
**   Vanguard LifeStrategy Moderate Growth Fund                        Registered Investment Company    ***          6,304,455
**   Vanguard STAR Fund                                                Registered Investment Company    ***          5,756,225
**   Vanguard GNMA Fund Investor Shares                                Registered Investment Company    ***          5,054,717
**   Vanguard High-Yield Corporate Fund Investor Shares                Registered Investment Company    ***          4,941,604
**   Vanguard Inflation-Protected Securities Fund: Inv Shares          Registered Investment Company    ***          7,267,424
**   Vanguard Intermediate-Term Bond Index Fund: Inv Shr               Registered Investment Company    ***          3,148,316
**   Vanguard Intermediate-Term Investment Grade Fd: Inv Shr           Registered Investment Company    ***          3,573,795
**   Vanguard Long-Term Bond Index Fund                                Registered Investment Company    ***          2,888,499
**   Vanguard Long-Term Treasury Fund Investor Shares                  Registered Investment Company    ***    $     5,867,979
**   Vanguard Institutional Index Fund                                 Registered Investment Company    ***         53,353,865
**   Vanguard Morgan Growth Fund Investor Shares                       Registered Investment Company    ***         10,466,224
**   Vanguard Total Bond Market Index Fund Investor Shares             Registered Investment Company    ***         20,366,572
**   Vanguard Long-Term Investment Grade Fund: Inv. Shr                Registered Investment Company    ***          6,666,677
**   Vanguard Short-Term Investment-Grade Fund: Inv Shr                Registered Investment Company    ***          5,866,747
**   Vanguard Admiral Treasury Money Market Fund                       Registered Investment Company    ***          1,500,309
**   Vanguard Federal Money Market Fund                                Registered Investment Company    ***          1,168,256
**   Vanguard Prime Money Market Fund                                  Registered Investment Company    ***         20,637,233
**   Vanguard Selected Value Fund                                      Registered Investment Company    ***          4,865,995
**   Vanguard Capital Value Fund                                       Registered Investment Company    ***          4,003,582
**   Vanguard Capital Opportunity Fund Investor Shares                 Registered Investment Company    ***         13,655,674
**   Vanguard Developed Markets Index Fund Investor Shares             Registered Investment Company    ***          1,582,135
**   Vanguard Dividend Growth Fund                                     Registered Investment Company    ***          6,110,605
**   Vanguard Emerging Markets Stock Index Fund Investor Shares        Registered Investment Company    ***          7,819,111
**   Vanguard Energy Fund Investor Shares                              Registered Investment Company    ***          4,549,442
**   Vanguard Equity Income Fund Investor Shares                       Registered Investment Company    ***          4,911,326
**   Vanguard Explorer Fund Investor Shares                            Registered Investment Company    ***          7,184,872
**   Vanguard Extended Market Index Fund Investor Shares               Registered Investment Company    ***          3,637,459
**   Vanguard Global Equity Fund                                       Registered Investment Company    ***          4,506,030




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                                                                                                               Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H Line 4i - Schedule of Assets (Held at End of Year)*, continued
December 31, 2014

     Identity of Issue, Borrower, Lessor
     or Similar Party Individual                                     Description of Investment      Cost         Fair Value

**   Vanguard Growth Index Fund Investor Shares                 Registered Investment Company        ***           8,450,611
**   Vanguard Health Care Fund Investor Shares                  Registered Investment Company        ***           6,587,810
**   Vanguard International Explorer Fund                       Registered Investment Company        ***           4,208,840
**   Vanguard International Growth Fund Investor Shares         Registered Investment Company        ***           9,978,488
**   Vanguard International Value Fund                          Registered Investment Company        ***           3,845,166
**   Vanguard Mid-Cap Growth Fund                               Registered Investment Company        ***           2,669,044
**   Vanguard Mid-Cap Index Fund Investor Shares                Registered Investment Company        ***           7,945,891
**   Vanguard Pacific Stock Index Fund Investor Shares          Registered Investment Company        ***           3,545,382
**   Vanguard Precious Metals and Mining Fund                   Registered Investment Company        ***           1,828,424
**   Vanguard PRIMECAP Core Fund                                Registered Investment Company        ***           3,457,530
**   Vanguard PRIMECAP Fund Investor Shares                     Registered Investment Company        ***          28,186,569
**   Vanguard REIT Index Fund Investor Shares                   Registered Investment Company        ***           8,050,737
**   Vanguard Small-Cap Growth Index Fund                       Registered Investment Company        ***           3,885,631
**   Vanguard Small-Cap Index Fund Investor Shares              Registered Investment Company        ***           3,921,504
**   Vanguard Small-Cap Value Index Fund                        Registered Investment Company        ***           5,654,810
**   Vanguard Strategic Equity Fund                             Registered Investment Company        ***           6,254,202
**   Vanguard Total International Stock Index Fund              Registered Investment Company        ***          10,656,442
**   Vanguard Total Stock Market Index Fund: Inst'l Shr         Registered Investment Company        ***          35,913,646
**   Vanguard U.S. Growth Fund Investor Shares                  Registered Investment Company        ***     $     8,842,513
**   Vanguard U.S. Value Fund                                   Registered Investment Company        ***           1,594,495
**   Vanguard Value Index Fund Investor Shares                  Registered Investment Company        ***           3,771,042
**   Vanguard Windsor Fund Investor Shares                      Registered Investment Company        ***          45,844,934
**   Vanguard Windsor II Fund Investor Shares                   Registered Investment Company        ***          17,357,424
**   Vanguard European Stock Index Fund Investor Shares         Registered Investment Company        ***           3,173,881
**   Vanguard Growth and Income Fund Investor Shares            Registered Investment Company        ***           4,349,686
**   TIAA-CREF International Equity Index-Inst                  Registered Investment Company        ***          19,094,445
**   TIAA-CREF Large-Cap Value Index-Inst                       Registered Investment Company        ***          15,031,137
**   TIAA-CREF Mid-Cap Growth-Inst                              Registered Investment Company        ***           4,898,852
**   TIAA-CREF Mid-Cap Value-Inst                               Registered Investment Company        ***          20,696,458
**   TIAA-CREF Small-Cap Blend Index-Inst                       Registered Investment Company        ***          11,818,050
**   TIAA Real Estate                                           Pooled Separate Account              ***          69,029,907
**   CREF Equity Index                                          Variable Annuity Contract            ***          57,689,969
**   CREF Global Equities                                       Variable Annuity Contract            ***          72,016,953
**   CREF Growth                                                Variable Annuity Contract            ***          73,518,479
**   CREF Stock                                                 Variable Annuity Contract            ***         525,602,126
**   CREF Social Choice                                         Variable Annuity Contract            ***          54,998,425
**   CREF Bond Market                                           Variable Annuity Contract            ***          58,699,599
**   CREF Inflation-Linked Bond                                 Variable Annuity Contract            ***          35,783,276
**   CREF Money Market                                          Variable Annuity Contract            ***          36,390,586
**   Vanguard Convertible Securities Fund                       Registered Investment Company        ***           1,507,319
**   Vanguard FTSE Social Index Fund Investor Shares            Registered Investment Company        ***           1,141,768
**   Vanguard Intermediate-Term Treasury Fund: Inv Shr          Registered Investment Company        ***           1,570,218
**   Vanguard LifeStrategy Growth Fund                          Registered Investment Company        ***           8,481,837
**   Vanguard LifeStrategy Income Fund                          Registered Investment Company        ***             995,071
**   Vanguard Short-Term Bond Index Fund Investor Shares        Registered Investment Company        ***           2,835,755
**   Vanguard Short-Term Federal Fund Investor Shares           Registered Investment Company        ***           1,614,987
**   Vanguard Short-Term Treasury Fund Investor Shares          Registered Investment Company        ***           1,907,597
                                                                                                 Total assets $ 2,415,714,661




*     The information in this schedule has been certified as to its completeness and accuracy by the
      Trustees.
** These are permitted party-in-interest transactions as defined by ERISA.
*** Cost information is not required for participant-directed investments and therefore is not included.




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                                                                                                           Exhibit 4
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             Form 5500                                  Annual Return/Report of Employee Benefit Plan                                                                                      OMB Nos. 1210-0110
                                                                                                                                                                                                    1210-0089
          Department of the Treasury                   This form is required to be filed for employee benefit plans under sections 104
           Internal Revenue Service
                                                      and 4065 of the Employee Retirement Income Security Act of 1974 (ERISA) and
            Department of Labor                       sections 6047(e), 6057(b), and 6058(a) of the Internal Revenue Code (the Code).
          Employee Benefits Security                                                                                                                                                      2015
                Administration
                                                                              Complete all entries in accordance with
     Pension Benefit Guaranty Corporation                                       the instructions to the Form 5500.
                                                                                                                                                                         This Form is Open to Public
                                                                                                                                                                                 Inspection
 Part I         Annual Report Identification Information
For calendar plan year 2015 or fiscal plan year beginning 01/01/2015                                                                   and ending 12/31/2015

A    This return/report is for:
                                                  X   a multiemployer plan;                            X   a multiple-employer plan (Filers checking this box must attach a list of
                                                                                                           participating employer information in accordance with the form instructions); or
                                                  X   a single-employer plan;                          X   a DFE (specify)     _C_
B    This return/report is:                       X   the first return/report;                         X   the final return/report;
                                                  X   an amended return/report;                        X   a short plan year return/report (less than 12 months).
C    If the plan is a collectively-bargained plan, check here. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . X

D    Check box if filing under:                X    Form 5558;                            X automatic extension;        X the DFVC program;
                                               X    special extension (enter description) ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
  Part II   Basic Plan Information—enter all requested information
1a Name of plan                                                                                     1b                                                                            Three-digit plan
                                                                                                                                                                                  number (PN)           001
                                                                                                                                                                                                         001
ABCDEFGHI     ABCDEFGHI
 NEW YORK UNIVERSITY      ABCDEFGHI
                     RETIREMENT        ABCDEFGHI
                                 PLAN FOR  MEMBERS OF   ABCDEFGHI    ABCDEFGHI
                                                           THE FACULTY,          ABCDEFGHI
                                                                        PROFESSIONAL RESEARCH STAFF
 & ADMINISTRATION
ABCDEFGHI     ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                           1c                                                                            Effective date of plan
                                                                                                                                                                                  01/01/1952
                                                                                                                                                                                  YYYY-MM-DD
2a Plan sponsor’s name (employer, if for a single-employer plan)                                                                                                            2b    Employer Identification
   Mailing address (include room, apt., suite no. and street, or P.O. Box)                                                                                                        Number (EIN)
   City or town, state or province, country, and ZIP or foreign postal code (if foreign, see instructions)                                                                        XX-XXXXXXX
                                                                                                                                                                                  012345678
NEW YORK UNIVERSITY
ABCDEFGHI       ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                 2c    Plan Sponsor’s telephone
D/B/A ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                 number
ABCDEFGHI                                                                                                                                                                              212-992-5465
                                                                                                                                                                                  0123456789
c/oE. 17TH
105   ABCDEFGHI
           STREET ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                               2d    Business code (see
FIRST FLOOR ABCDEFGHI ABCDEFGHI ABCDE
123456789                                                                                                                                                                         instructions)
NEW YORK, NY 10003                                                                                                                                                                611000
                                                                                                                                                                                  012345
123456789 ABCDEFGHI ABCDEFGHI ABCDE
CITYEFGHI ABCDEFGHI AB, ST 012345678901
UK

Caution: A penalty for the late or incomplete filing of this return/report will be assessed unless reasonable cause is established.
Under penalties of perjury and other penalties set forth in the instructions, I declare that I have examined this return/report, including accompanying schedules,
statements and attachments, as well as the electronic version of this return/report, and to the best of my knowledge and belief, it is true, correct, and complete.


SIGN        Filed with authorized/valid electronic signature.                                         08/29/2016
                                                                                                      YYYY-MM-DD                 PATRICIA
                                                                                                                                 ABCDEFGHIHALLEY
                                                                                                                                              ABCDEFGHI                        ABCDEFGHI ABCDE
HERE
              Signature of plan administrator                                                         Date                       Enter name of individual signing as plan administrator


SIGN Filed with authorized/valid electronic signature.                                                08/29/2016
                                                                                                      YYYY-MM-DD                 PATRICIA
                                                                                                                                 ABCDEFGHIHALLEY
                                                                                                                                              ABCDEFGHI                        ABCDEFGHI ABCDE
HERE
      Signature of employer/plan sponsor                                                              Date                       Enter name of individual signing as employer or plan sponsor


SIGN                                                                                                  YYYY-MM-DD                 ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDE
HERE
          Signature of DFE                                                  Date                Enter name of individual signing as DFE
Preparer’s name (including firm name, if applicable) and address (include room or suite number) ABCDEFGHI               Preparer’s telephone number
ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
RONALD ARCULEO
ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI                                                                                                                215-246-2300
DELOITTE TAX LLP
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
1700 MARKET STREET
ABCDEFGHI    ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
PHILADELPHIA, PA 19103
ABCDEFGHI    ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI ABCDEFGHI ABCDEFGHI ABCDEFGHIABCDEFGHI ABCDEFGHI ABCDEFGHI
ABCDEFGHI
For Paperwork Reduction Act Notice and OMB Control Numbers, see the instructions for Form 5500.                                                                                            Form 5500 (2015)
                                                                                                                                                                                           v. 150123



                                                                                                                                                                            Exhibit 4
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New York University
Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Notes to Financial Statements
December 31 , 201 5 and 2014


6.    Tax Status


      The Plan has been designed to qualify for tax-exempt status under Section 403(b) of the Internal
      Revenue Code (the Code). The Plan Administrator believes that the Plan is currently designed and
      operating in accordance with the applicable requirements of Section 403(b) of the Code and,
      therefore, believes the Plan is qualified and the related (custodial) accounts (and tax-deferred
      annuities) are tax-exempt. Therefore, no provision for income taxes has been included in the
      Plan's financial statements.


      U.S. GAAP requires plan management to evaluate tax positions taken by the Plan and recognize a
      tax liability if the Plan has taken an uncertain position that more likely than not would not be
      sustained upon examination by the IRS. The Plan Administrator has analyzed the tax positions
      taken by the Plan, and has concluded that as of December 31 , 201 5, there are no uncertain
      positions taken or expected to be taken that would require recognition of a liability or disclosure in
      the financial statements. The Plan is subject to routine audits by taxing jurisdictions; however,
      there are currently no audits for any tax periods in progress. The Plan Administrator believes it is
      no longer subject to income tax examinations for years prior to 2012.


7.    Party-ln-lnterest and Related Party Transactions


     All of the Plan's investments are managed by the trustees and, therefore, these transactions qualify
     as party-in-interest transactions. The total fair value of investments managed by TIAA-CREF and
     Vanguard was $2,442,670,037 and $2,415,714,661 at December 31, 2015 and 2014, respectively.

8.   Subsequent Events


     The Plan Administrator has evaluated subsequent events through August 23, 2016, the date the
     financial statements were issued.


     On August 1 1 , 2016, NYU was served with a complaint in which the plaintiffs, NYU faculty
     members, made certain claims under ERISA and seek a class action on behalf of participants in
     the Plan for alleged breach of fiduciary duty. NYU is reviewing the complaint and the impact, if
     any, to the Plan is unknown at this time.




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                                                                                                 Exhibit 4
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                   Supplemental Schedule




                                                            Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2015


    identity of Issue, Borrower, Lessor
    or Similar Party Individual                                      Description of Investment   Cost           FairValue


" TIM Traditional Annuity                                       Guaranteed Insurance Contract           $        667,643,323
** TIM-CREF Lifecycle Retirement Income-lnst                    Registered Investment Company                        756,418
" TIM-CREF Lifecycle 2010-lnst                                   Registered Investment Company                     2,927,749
" TIM-CREF Lifecycle 201 5-lnst                                  Registered Investment Company                     3,542,085
" TIM-CREF Lifecycle 2020-inst                                  Registered Investment Company                      6,286,163
** TIM-CREF Lifecycle 2025-lnst                                 Registered Investment Company                      5,867,400
" TIM-CREF Lifecycle 2030-lnst                                  Registered Investment Company                      6,525,289
" TIM-CREF Lifecycle 2035-lnst                                  Registered Investment Company                      7,474,905
" TIM-CREF Lifecycle 2040-lnst                                  Registered Investment Company                      9,828,986
" TIM-CREF Lifecycle 2045-lnst                                  Registered Investment Company                      6,488,196
" TIM-CREF Lifecycle 2050-lnst                                  Registered Investment Company                      2,994,810
" TIM-CREF Lifecycle 2055-lnst                                  Registered Investment Company                       282,824
** Vanguard Target Retirement 2010 Fund                         Registered Investment Company                      2,063,386
" Vanguard Target Retirement 2015 Fund                          Registered Investment Company                     10,519,557
" Vanguard Target Retirement 2020 Fund                          Registered Investment Company                     10,891,578
" Vanguard Target Retirement 2025 Fund                          Registered Investment Company                    21,943,085
** Vanguard Target Retirement 2030 Fund                         Registered Investment Company                     14,208,325
** Vanguard Target Retirement 2035 Fund                         Registered Investment Company                    23,854,159
" Vanguard Target Retirement 2040 Fund                          Registered Investment Company                    22,752,799
" Vanguard Target Retirement 2045 Fund                          Registered Investment Company                    28,855,641
" Vanguard Target Retirement 2050 Fund                          Registered Investment Company                    17,191,526
** Vanguard Target Retirement 2055 Fund                         Registered Investment Company                     2,460,203
** Vanguard Target Retirement 2060 Fund                         Registered Investment Company                       239,800
** Vanguard Target Retirement Income                            Registered Investment Company                     1,904,300
" Vanguard Weltesley Income Fund investor Shares                Registered Investment Company                     6,278,095
" Vanguard Wellington Fund Investor Shares                      Registered Investment Company                    19,715,615
" Vanguard Balanced Index Fund investor Shares                  Registered Investment Company                     9,308,205
" Vanguard LifeStrategy Conservative Growth Fund                Registered Investment Company                     3,517,699
" Vanguard LifeStrategy Moderate Growth Fund                    Registered Investment Company                     6,391,257
** Vanguard STAR Fund                                           Registered Investment Company                     5,475,940
** Vanguard GNMA Fund Investor Shares                           Registered Investment Company                     4,612,214
" Vanguard High-Yield Corporate Fund Investor Shares            Registered Investment Company                     4,985,405
" Vanguard Inflation-Protected Securities Fund: Inv Shares      Registered Investment Company                     6,744,048
" Vanguard Intermediate-Term Bond Index Fund: Inv Shr           Registered Investment Company                     3,001,205
" Vanguard Intermediate-Term Investment Grade Fd: Inv Shr       Registered Investment Company                     3,099,039
** Vanguard Long-Term Bond Index Fund                           Registered Investment Company                     2,960,163
** Vanguard Long-Term Treasury Fund Investor Shares             Registered Investment Company                     6,051,876
** Vanguard Institutional Index Fund                            Registered Investment Company                    54,562,536
** Vanguard Morgan Growth Fund Investor Shares                  Registered Investment Company                    10,699,904
" Vanguard Total Bond Market Index Fund Investor Shares         Registered Investment Company                    21,966,461
" Vanguard Long-Term Investment Grade Fund: Inv. Shr            Registered Investment Company               '     7,212,848
** Vanguard Short-Term Investment-Grade Fund: Inv Shr           Registered Investment Company                     6,232,916
** Vanguard Treasury Money Market Fund                          Registered Investment Company                     1,372,452
" Vanguard Federal Money Market Fund                            Registered Investment Company                     1,024,780
" Vanguard Prime Money Market Fund                              Registered Investment Company                    24,039,023
" Vanguard Selected Value Fund                                  Registered Investment Company                     4,394,165
" Vanguard Capital Value Fund                                   Registered Investment Company                     1,968,552
" Vanguard Capital Opportunity Fund Investor Shares             Registered Investment Company                    13,615,968
** Vanguard Developed Markets Index Fund Investor Shares        Registered Investment Company                     1 ,580,403
** Vanguard Dividend Growth Fund                                Registered Investment Company                     6,378,436
** Vanguard Emerging Markets Slock Index Fund Investor Shares   Registered Investment Company                     6,740,213
" Vanguard Energy Fund Investor Shares                          Registered Investment Company                     3,891,921
" Vanguard Equity Income Fund Investor Shares                   Registered Investment Company                     4,790,684
" Vanguard Explorer Fund Investor Shares                        Registered Investment Company                     6,737,809
" Vanguard Extended Market Index Fund Investor Shares           Registered Investment Company                     3,677,593
" Vanguard Global Equity Fund                                   Registered Investment Company                     3,842,333




                                                                13




                                                                                                                  Exhibit 4
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New York University Retirement Plan for Members of the Faculty,
Professional Research Staff and Administration
Schedule H Line 4i - Schedule of Assets (Held at End of Year)*
December 31, 2015


     Identity of Issue, Borrower, Lessor
                                                                     Description of Investment     Cost                 Fair Value
      or Similar Party Individual

                                                               Registered Investment Company                    $          8,672,934
" Vanguard Growth index Fund Investor Shares
                                                               Registered Investment Company                              10,809,097
" Vanguard Health Care Fund Investor Shares
                                                               Registered Investment Company                               5,486,191
** Vanguard International Explorer Fund
                                                               Registered Investment Company                              10,239,025
** Vanguard International Growlh Fund Investor Shares
                                                               Registered Investment Company                               3,747,901
** Vanguard International Value Fund
                                                               Registered Investment Company                               3,463,353
" Vanguard Mid-Cap Growth Fund
                                                               Registered Investment Company                               7,681,750
" Vanguard Mid-Cap Index Fund Investor Shares
                                                               Registered investment Company                               4,059,833
" Vanguard Pacific Stock Index Fund Investor Shares
                                                               Registered Investment Company                               1,410,622
** Vanguard Precious Metals and Mining Fund
                                                               Registered Investment Company                               2,868,113
 " Vanguard PRIMECAP Core Fund
                                                               Registered Investment Company                              28,247,276
 " Vanguard PRIMECAP Fund Investor Shares
                                                               Registered Investment Company                               7,933,348
 " Vanguard REIT Index Fund Investor Shares
                                                               Registered investment Company                               4,097,081
 " Vanguard Small-Cap Growth index Fund
                                                               Registered Investment Company                               3,647,017
 ** Vanguard Small-Cap Index Fund Investor Shares
                                                               Registered Investment Company                               5,539,435
 " Vanguard Small-Cap Value Index Fund
                                                               Registered Investment Company                               6,286,165
 " Vanguard Strategic Equity Fund
                                                               Registered Investment Company                              10,948,916
 " Vanguard Total International Stock Index Fund
                                                               Registered Investment Company                              37,031,056
 ** Vanguard Total Stock Market Index Fund: Inst'l Shr
                                                               Registered Investment Company                               9,802,469
 ** Vanguard U.S. Growth Fund Investor Shares
                                                               Registered Investment Company                                1,170,590
 " Vanguard U.S. Value Fund
                                                               Registered Investment Company                                3,702,399
 ** Vanguard Value Index Fund Investor Shares
                                                                                                     **x
                                                               Registered Investment Company                              40,698,659
 " Vanguard Windsor Fund Investor Shares
                                                               Registered Investment Company                               14,229,315
 ** Vanguard Windsor II Fund Investor Shares
                                                               Registered Investment Company                                3,246,250
 " Vanguard European Stock Index Fund Investor Shares
                                                               Registered Investment Company                                4,023,325
 " Vanguard Growth and Income Fund Investor Shares
                                                               Registered Investment Company                               20,947,671
 ** TIAA-CREF International Equity index-lnst
                                                               Registered Investment Company                               17,478,927
 " TIAA-CREF Large-Cap Value Index-lnst
                                                               Registered Investment Company                                5,287,178
 " TIAA-CREF Mid-Cap Growth-lnst                                                                     4**
                                                               Registered Investment Company                               20,653,361
 " TIAA-CREF Mid-Cap Value-lnst
                                                               Registered Investment Company                               12,813,306
 ** TIAA-CREF Small-Cap Blend Index-lnst
                                                                Pooled Separate Account                                    77,964,828
 " TIAA Real Estate
                                                               Variable Annuity Contract                                   59,104,921
 " CREF Equity Index R3
                                                               Variable Annuity Contract                                   74,089,547
 " CREF Global Equities R3
                                                               Variable Annuity Contract                                   79,925,857
 " CREF Growth R3
                                                               Variable Annuity Contract                                 486,530,106
 " CREF Stock R3
                                                               Variable Annuity Contract                                   52,654,736
 " CREF Social Choice R3
                                                                Variable Annuity Contract                                  60,929,814
 " CREF Bond Market R3
                                                                Variable Annuity Contract                                  31,512,391
 " CREF Inflation-Linked Bond R3
                                                                Variable Annuity Contract                                  38,272,913
 " CREF Money Market R3
                                                                Registered Investment Company                               1,331,922
 " Vanguard Convertible Securities Fund
                                                                Registered Investment Company                               1,130,006
 ** Vanguard FTSE Social Index Fund Investor Shares
                                                                Registered Investment Company                               2,154,878
 ** Vanguard Intermediate-Term Treasury Fund: Inv Shr
                                                                Registered Investment Company                               8,296,686
 ** Vanguard LifeStrategy Growth Fund
                                                                Registered Investment Company                               1,007,970
 ** Vanguard LifeStrategy Income Fund
                                                                Registered Investment Company                               3,397,576
 ** Vanguard Short-Term Bond Index Fund investor Shares
                                                                Registered Investment Company                               1,624,030
 " Vanguard Short-Term Federal Fund Investor Shares
                                                                Registered Investment Company                               2,147,028
 " Vanguard Short-Term Treasury Fund investor Shares
                                                                                                 Total assets       $   2,442,670,037




           The information in this schedule has been certified as to its completeness and accuracy by the Trustees.

           These are permitted party-in-interest transactions as defined by ERISA.
**




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            Cost information is not required for participant-directed investments and therefore is not included.



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                                                                                                                             Exhibit 4
